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                                                   U.S. Department of Justice
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                                                   March 18, 2019
VIA HAND DELIVERY AND ECF

The Honorable Ann Marie Donio
United States Magistrate Judge
Mitchell H. Cohen Federal Building
  & Courthouse
4th and Cooper Streets
Camden, New Jersey 08102

           Re:        United States v. William Hickman, et al., Crim. No. 19-191

Dear Judge Donio:

       I write to correct a mistaken statement I made on Friday, March 15, 2019, during the
hearings to determine the release conditions of John Sher and Thomas Sher. Your Honor asked
whether Michael Sher was restricted from communicating with his brothers as part of his release
conditions, and I replied that he was, based on my belief that Judge Kugler had ordered other
defendants who pled guilty in this case to have no contact with victims and witnesses. Former
Assistant U.S. Attorney Jacqueline M. Carle represented the government at the Michael Sher
plea hearing.

       After the hearing, counsel for Michael Sher told me, and I have no reason to question his
representation, that Judge Kugler orally directed Michael Sher not to discuss the case with the
family members who are witnesses (which would include his brothers John and Thomas) but did
not prohibit all contact with them. The Order Setting Conditions of Release does not contain a
prohibition on talking to family members or witnesses. I apologize for my mistake and for
misinforming the Court.

        The government maintains that the release conditions imposed by Your Honor on John
and Thomas Sher were appropriate and will be moving to modify Michael Sher’s release
conditions to harmonize them with his brothers’ release conditions. Your Honor imposed
conditions appropriate to the current circumstances, which differ greatly from the circumstances
presented to Judge Kugler. At that time, Michael Sher admitted his guilt, and his brothers had
not yet been charged. John and Thomas Sher now have been charged with conspiring to commit
wire fraud and health care fraud with each other and with their brother Michael Sher, and they
are contesting their guilt. All the reasons for barring indicted defendants from having any
contact with witnesses are present here; the family relationships do not lessen the concern about
such contacts. In recognition of the family situation, Your Honor allowed these brothers to have
non-case-related contact in the presence of one of their parents, which was an appropriate
accommodation of the family’s interests and preserves the brothers’ ability to communicate
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about non-case-related matters. It is in the best interest of John, Thomas and Michael Sher, as
well as the proper administration of justice, that they should be barred from having any
unsupervised contacts until this case is resolved.

       Once again, my apologies for giving erroneous information to the Court.

                                                    Respectfully,

                                                    CRAIG CARPENITO
                                                    United States Attorney

                                                    /s/ R. David Walk, Jr.

                                                    By: R. DAVID WALK, JR.
                                                         ALYSON M. OSWALD
                                                    Assistant United States Attorneys

cc:    All counsel (via ECF)
